                  Case 4:99-cr-00001-JRH-CLR Document 407 Filed 09/08/15 Page 1 of 1
AO 24?(t0/11) OrdetReearding                R€ductjon
                           Motioofor Sentebce             to l8 U.S C $ 3582(c)(2)
                                                    Pursuanl                                                  Pase I of2 (Pag€2 Not for PublicDisclosure)



                                                      UNITEDSTATES DISTRICT
                                                                for the
                                                                          COURT
                                                                                                                          ",ldiffifl
                                                                                                                        ?0t$s[P-B
                                                           SouthernDistrictof Georgia                                           Pil f ,
                                                              SavannahDivision
                    United Statesof America
                               v.
                                                                              CaseNo: 4:99CR00001-l
                           TerrellGaulden
                                                                              USMNo:09985-021
DateofOriginal Judgment:                         Julv21. 1999                 GregoryN. Crawford
DateofPreviousAmendedJudgnent;                   March 6, 2012                Defendant'sAttornev
(UseDate oJLdst AmendedJudgment,iJ any)


                                                                       ReductionPursuantto 18 U'S'C' S 3582(cX2)
                                    Order R€gardingtr'Iotionfor Sontence


       Uponmotionof Sthe defendantl-l the Directorof theBmeauof Prisons[-l the courtunder18U.S.C.
$ 35S2(cX2)for a reductionin the tem of imprisonment  imposedbasedon a guidelinesentencing  rangethathas
subsequently beenloweredandmaderetroactiveby the UnitedStatesSentencing       Commissionpursuantto 28 U.S C.
$ 99a(u),andhavingconsidered    suchmotion,andtakinginto accountthe policy statement setforth at USSG$ 1B1.10and
                                                                that
              factorssetforth in l8 U.S.C.$ 3553(a),to the extent
the senterloing                                                      t}reyareapplicable,

tT ls ORDEREDthatthemotionis:
fl lfNnO. ! CneUfeO andthe defendant's                          of imprisonment
                                        previouslyimposedsentence                      ihthelastiudsment
                                                                              /osrcfected
             *suefl of     monthsis reducedto


                                            (Complete Parts I and II of Page 2 when motion is grqnted)




Exceptasotherwiseprovidedabove,all provisionsofthejudgnent dated
IT IS SO ORDERED.

OrderDate:



                                                                               DudleyH, Bowen,Jr.
EffectiveDate:            November1.2015                                       United StatesDistrict Judge
                                 from oder date)
                      (if diJlerent                                                            Prirt"dno." *dTiiii-
